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Attorneys for Defendant
ENHANCED RECOVERY C()MPANY, LLC

UNITED STATES'.DISTR'ICT COURT
CENTRAL DISTRICT OF CAL_IFORNIA

JOHN CARTER WILLIAMS n CASE NO. 2:15-cV-O9579

--Piaintirf,' . . _ .
_NoTICE oF REMovAL

VS.

ENHANCED RECOVERY
COMPANY, LLC, _

Defendant.

 

'Trial Date`:. None Set

 

TO THE CLERK OF' THE ABOVE-ENTITLED C()URT:

PLEASETAKE NoTICE that Defendant ENHA_NCED RECo\/ERY
COMPANY, LLC (“Defendant”) hereby removes to this Court the state court action
described beloW:

1. On or about September 21, 2015, an action Was commenced in the
Orange County Superior Court, entitled John Carter Williams v. Enhanced Recovery
Company,` LLC,» case no.' 30-2015-00810554-CL-NP-CJC. A true and correct copy
of Plaintiff JOHN CARTER WILLIAMS’ Complaint is attached hereto as Exhibit
“A_,,

2. Defendant Was served With Said Complaint on November 12, 2015. A

4828-4107-3452.1»

 

 

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true and correct copy of the Summons is attached hereto as Exhibit “B.”

3. This action is a civil action of Which this Court has original jurisdiction
under 28 U.S.C. § 1331, and is one Which may be removed to this Court by
Defendant pursuant to the provisions of 28 U.S.C. § 1331 and 28 U.S.C. § 144l(a)
in that it arises under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et
seq. and the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq.

4. There are no other defendants named in the Complaint.

DATED: December lO, 2015 LEWIS BRlSBOIS BISGAARD & Sl\/IITH LLP

By: /s/ Larz`ssa G. Nefulda

 

Stephen H. Turner

Larissa G. Nefulda

Attorneys for Defendant

ENHANCED RECOVERY COl\/IPANY,
LLC

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